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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: DIET DRUGS (PHENTERMINE/
FENFLURAMINE/DEXFENFLURAMINE)                    MDL NO. 1203
PRODUCTS LIABILITY LITIGATION


THIS DOCUMENT RELATES TO:

SHEILA BROWN      1    et al.
                                                 CIVIL ACTION NO. 99-20593
             v.
AMERICAN HOME PRODUCTS                           2:16 MD 1203
CORPORATION


  MEMORANDUM IN SUPPORT OF SEPARATE PRETRIAL ORDER           No.88B3
Bartle, J.                                                      May 30 1 2012

             Dennis L. Eakle ("Mr. Eakle" or "claimant"), a class

member under the Diet Drug Nationwide Class Action Settlement

Agreement (" Set t lement Agreement") wi th Wyeth, 1 seeks benef i ts

from the AHP Settlement Trust (IITrustll). 2       Based on the record

developed in the show cause process, we must determine whether

claimant has demonstrated a reasonable medical basis to support

his claim for Matrix Compensation Benefits (IIMatrix Benefits")           .3




1. Prior to March 111 2002 1 Wyeth was known as American Home
Products Corporation.

2.  Janice L. Eakle 1 Mr. Eakle's spouse l        also has submitted a
derivative claim for benefits.

3. Matrix Benefits are paid according to two benefit matrices
(Matrix "A" and Matrix "B"), which generally classify claimants
for compensation purposes based upon the severity of their
medical conditions, their ages when they are diagnosed, and the
presence of other medical conditions that also may have caused or
contributed to a claimant's valvular heart disease (IIVHD"). See
                                                   (continued ... )
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             To seek Matrix Benefits, a claimant must first submit a

completed Green Form to the Trust.         The Green Form consists of

three parts.     The claimant or the claimant's representative

completes Part I of the Green Form.         Part II is completed by the

claimant's attesting physician, who must answer a series of

questions concerning the claimant's medical condition that

correlate to the Matrix criteria set forth in the Settlement

Agreement.     Finally, claimant's attorney must complete Part III

if claimant is represented.

             In August, 2002, claimant submitted a completed Green

Form to the Trust signed by his attesting physician, Allan P.

Latcham, M.D., F.A.C.C.       Dr. Latcham is no stranger to this

litigation.     According to the Trust, he has signed in excess of

138 Green Forms on behalf of claimants seeking Matrix Benefits.

Based on an echocardiogram dated July I, 2002, Dr. Latcham

attested in Part II of Mr. Eakle's Green Form that he suffered

from moderate mitral regurgitation, an abnormal left atrial



3.   ( ... continued)
Settlement Agreement §§ IV.B.2.b. & IV.B.2.d. (1)-(2). Matrix A-I
describes the compensation available to Diet Drug Recipients with
serious VHD who took the drugs for 61 days or longer and who did
not have any of the alternative causes of VHD that made the B
matrices applicable.  In contrast, Matrix B-1 outlines the
compensation available to Diet Drug Recipients with serious VHD
who were registered as having only mild mitral regurgitation by
the close of the Screening Period or who took the drugs for 60
days or less or who had factors that would make it difficult for
them to prove that their VHD was caused solely by the use of
these diet drugs.

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dimension, and a reduced ejection fraction in the range of 50% to

60%.4      Based on such findings, claimant would be entitled to

Matrix A-I, Level II benefits in the amount of $512,025. 5

              In the report of claimant1s echocardiogram, Dr. Latcham

noted that claimant had IImoderate mitral valve regurgitation with

the mitral valve area to left atrial area ratio of 30.35%.11

Under the definition set forth in the Settlement Agreement,

moderate or greater mitral regurgitation is present where the

regurgitant jet area (IIRJAII) in any apical view is greater than

20% of the left atrial area (IILAAII).        See Settlement Agreement

§ I. 22.

              In November, 2005, the Trust forwarded the claim for

review by Rohit J. Parmar, M.D., one of its auditing

cardiologists.      In audit, Dr. Parmar determined that there was no

reasonable medical basis for Dr. Latcham1s finding that claimant

had moderate mitral regurgitation because his echocardiogram




4.  Dr. Latcham also attested that claimant suffered from New
York Heart Association Functional Class III symptoms. This
condition, however, is not at issue in this claim.

5. Under the Settlement Agreement, a claimant is entitled to
Level II benefits for damage to the mitral valve if he or she is
diagnosed with moderate or severe mitral regurgitation and one of
five complicating factors delineated in the Settlement Agreement.
See Settlement Agreement § IV.B.2.c. (2) (b). As the Trust does
not contest the attesting physician1s finding of an abnormal left
atrial dimension, which is one of the complicating factors needed
to qualify for a Level II claim, the only issue is claimant1s
level of mitral regurgitation.

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demonstrated only physiologic mitral regurgitation.'                In support

of this conclusion, Dr. Parmar explained that            II   [t)he [mitral

regurgitation) is trace.         The echo [cardiogram) tech [nician) has

the color gain very high and as such the [mitral regurgitation)

is over estimated.        Also, the tech [nician) has over trace[d) the

color by inclusion of low velocity flow.             The tech [nician) has

trace [d) color that is not representative of [mitral

regurgitation) ."

               Based on the auditing cardiologist's finding that

claimant had physiologic mitral regurgitation, the Trust issued a

post-audit determination denying Mr. Eakle's claim.                Pursuant to

the Rules for the Audit of Matrix Compensation Claims (IIAudit

Rules")   I   claimant contested this adverse determination. 7          In

contest, claimant argued that the auditing cardiologist's review

of the echocardiogram was flawed.             In support of this argument,

claimant submitted a report from Waenard L. Miller, M.D.,




6. As noted in the Report of Auditing Cardiologist Opinions
Concerning Green Form Questions at Issue, physiologic mitral
regurgitation is defined as a "[n)on-sustained jet immediately
(within 1 cm) behind the annular plane or <+ 5% RJA/LAA."

7.  Claims placed into audit on or before December I, 2002 are
governed by the Policies and Procedures for Audit and Disposition
of Matrix Compensation Claims in Audit, as approved in Pretrial
Order ("PTO") No. 2457 (May 31, 2002).  Claims placed into audit
after December I, 2002 are governed by the Audit Rules, as
approved in PTa No. 2807 (Mar. 26, 2003). There is no dispute
that the Audit Rules contained in PTa No. 2807 apply to
Mr. Eakle's claim.

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F.A.C.C.! who stated that Mr. Eakle had "moderate mitral

regurgitation with RJA/LAA of 30%."

           The Trust then issued a final post-audit determination!

again denying Mr. Eakle's claim.        Claimant disputed this final

determination and requested that the claim proceed to the show

cause process established in the Settlement Agreement.          See

Settlement Agreement § VI.E.7.; PTO No. 2807, Audit Rule 18(c).

The Trust then applied to the court for issuance of an Order to

show cause why Mr. Eakle's claim should be paid.         On

June 12, 2006, we issued an Order to show cause and referred the

matter to the Special Master for further proceedings.          See PTO

No. 6372 (June 12, 2006).

           Once the matter was referred to the Special Master, the

Trust submitted its statement of the case and supporting

documentation.   Claimant then served a response upon the Special

Master.   The Trust submitted a reply on August 31, 2006.         Under

the Audit Rules, it is within the Special Master's discretion to

appoint a Technical Advisor' to review claims after the Trust and

claimant have had the opportunity to develop the Show Cause


8. A "[Technical] [A]dvisor's role is to act as a sounding board
for the judge-helping the jurist to educate himself in the jargon
and theory disclosed by the testimony and to think through the
critical technical problems." Reilly v. United States, 863 F.2d
149, 158 (1st Cir. 1988).  In cases, such as here, where there
are conflicting expert opinions, a court may seek the assistance
of the Technical Advisor to reconcile such opinions. The use of
a Technical Advisor to "reconcil[e] the testimony of at least two
outstanding experts who take opposite positions" is proper.  Id.

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Record.   See Audit Rule 30.    The Special Master assigned a

Technical Advisor, Sandra V. Abramson, M.D., F.A.C.C., to review

the documents submitted by the Trust and claimant and to prepare

a report for the court.     The Show Cause Record and Technical

Advisor Report are now before the court for final determination.

See id. Rule 35.

          The issue presented for resolution of this claim is

whether Mr. Eakle has met his burden in proving that there is a

reasonable medical basis for the attesting physician's finding

that he had moderate mitral regurgitation.        See id. Rule 24.

Ultimately, if we determine that there is no reasonable medical

basis for the answer in claimant's Green Form that is at issue,

we must affirm the Trust's final determination and may grant such

other relief as deemed appropriate.        See id. Rule 38(a).     If, on

the other hand, we determine that there is a reasonable medical

basis for the answer, we must enter an Order directing the Trust

to pay the claim in accordance with the Settlement Agreement.

See id. Rule 38(b).

          The Technical Advisor, Dr. Abramson, reviewed

claimant's echocardiogram and concluded that she was unable to

determine whether there was a reasonable medical basis for the

attesting physician's finding of moderate mitral regurgitation

due to improper machine settings.        Specifically, Dr. Abramson

observed that:


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          In reviewing the transthoracic echocardiogram
          from 7/01/02, which was performed by FenPhen
          Limited Echo, the inappropriately high color
          gain settings make it difficult to assess the
          mitral regurgitation. The mitral regurgitant
          jet appears larger than it would if standard
          color gain settings had been used.  It would
          be impossible for me to "guess" what the
          severity of the regurgitation would be if
          appropriate gain settings had been used.
          Gain settings are amplifications. Thus, it
          would be like listening to a song that is
          being played excruciatingly loud, and trying
          to decipher the melody despite its
          distortion.

          The technologist traced a mitral regurgitant
          jet on the tape that is frozen (not real
          time) and is much larger than any other jet
          seen on the tape.  I am not confident that
          this is a representative jet.

          In summary, I am unable to assess the
          severity of this regurgitant jet due to the
          improper gain settings used in the
          acquisition of the study ....

          In a response to the Technical Advisor Report, claimant

argues that because Dr. Abramson is unable to determine the

severity of mitral regurgitation, and given Dr. Miller's

qualifications, Dr. Miller's measured RJA/LAA ratio of 30% should

be given deference.

          After reviewing the entire Show Cause Record, we find

claimant's arguments are without merit.       First, claimant does not

refute the determination of the Technical Advisor that" [t)he

settings that were used in this [echocardiogram] are never used

in a clinical setting.    FenPhen Limited Echo performed this study

using improper settings, which were used to make the regurgitant

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jet appear larger than it would have if the correct settings had

been used."      On this basis alone, claimant has failed to meet his

burden of demonstrating that there is a reasonable medical basis

for his claim.

             Moreover, we also disagree with claimant that

Dr. Miller's letter establishes a reasonable medical basis for

his claim.     As we previously explained in PTO No. 2640, conduct

"beyond the bounds of medical reason" can include:             (1) failing

to review multiple loops and still frames;          (2) failing to have a

Board Certified Cardiologist properly supervise and interpret the

echocardiogrami     (3) failing to examine the regurgitant jet

throughout a portion of systole;        (4) over-manipulating

echocardiogram settings;       (5) setting a low Nyquist limit;

(6) characterizing "artifacts," "phantom jets," "backflow" and

other low velocity flow as mitral regurgitation;           (7) failing to

take a claimant's medical history; and (8) overtracing the amount

of a claimant's regurgitation.         See PTO No. 2640 at 9-13, 15, 21­

22,   Z6   (Nov. 14, 2002).   Here, both Dr. Parmar and Dr. Abramson

found that the echocardiogram used improperly high color gain

settings.     Dr. Parmar also determined that the supposed

regurgitant jet included low velocity flow not representative of

true mitral regurgitation.        In addition, Dr. Abramson noted that

the regurgitant jet frozen for measurement was not a

representative jet, as it appeared much larger than the other


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regurgitant jets seen in real time.           Such unacceptable practices

cannot provide'a reasonable medical basis for the resulting

diagnosis and Green Form representation that claimant s,uffered

from moderate mitral regurgitation.

          For the foregoing reasons       I   we conclude that claimant

has not met his burden of proving that there is a reasonable

medical basis for finding that he had moderate mitral

regurgitation.   Therefore   I   we will affirm the Trust's denial of

Mr. Eakle's claim for Matrix Benefits and the related derivative

claim submitted by his spouse.




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